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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF VIRGINIA
Richmond Division

DANIELLE VARNER, a Minor, by
and through her father and
next friend, Michael Varner,
Plaintiff,
Vv. Civil Action No. 3:21cv290
YAMAHA MOTOR CORPORATION, U.S.A. et al.,

Defendants.

MEMORANDUM OPINION

This matter is before the Court on DEFENDANT YAMAHA MOTOR
CORPORATION, U.S.A.’S MOTION FOR DETERMINATION REGARDING ADMIRALTY
JURISDICTION (ECF No. 38) (the “Motion”). In reality, the Motion
is a challenge to subject matter jurisdiction under Fed. R. Civ.
P, 12(b) (1) that, as presented, assumes the pleaded facts to be
true and argues that, on those facts, there is no admiralty or
maritime jurisdiction. The resolution of the Motion also resolves
DEFENDANT YAMAHA MOTOR CORPORATION, U.S.A.‘S MOTION TO DISMISS OR
FOR JUDGMENT ON THE PLEADINGS (ECF No. 40).

Danielle Varner was injured when she fell off a Yamaha
WaveRunner personal watercraft that she was riding on the
Rappahannock River. This case was brought on two strict liability
theories and a general maritime negligence theory. The parties

acknowledge that Virginia law does not have a cause of action for
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strict liability. The case’s viability thus substantially depends
on whether it falls within federal admiralty jurisdiction. Yamaha
Motor Corporation, U.S.A. (“Yamaha”) argues that it does not.
While the parties disagree about many factual matters, the
undisputed facts satisfy the Supreme Court’s two-part test for
admiralty jurisdiction articulated in Jerome B. Grubart, Inc. v.

Great Lakes Dredge & Dock Co., 513 U.S. 527 (1995). Accordingly,

 

this Court retains admiralty jurisdiction over this case under 28

U.S.C. § 1333(1) and Yamaha’s Motion will be denied.

BACKGROUND

The relevant jurisdictional facts are more straightforward
than the parties’ briefing on this Motion would indicate. Danielle
Varner was riding a Yamaha WaveRunner on the Rappahannock River
with two other people. The Rappahannock River is a navigable water
of the United States. At some point, Varner, who was seated at
the rear of the WaveRunner, fell off.! She landed in the path of
the powerful current of water created by the WaveRunner’s
propulsion and suffered serious internal injuries from the force

of the water entering her anus and vagina.

 

1 The parties’ briefing on this Motion engages in lengthy dispute
as to the cause of Varner’s fall. But that question is not relevant
to the disposition of Yamaha’s Motion. While it may be relevant
to the issue of liability, the Court does not need to decide it
for the purpose of establishing admiralty jurisdiction.

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This case presents two strict liability claims. In Count
One, the Complaint alleges that Yamaha failed to implement any of
a number of design changes to the WaveRunner that could have
prevented passengers from falling off the way that Varner did. In
Count Two, the Complaint alleges that Yamaha knew of the risk of
injuries of the kind that Varner suffered and failed adequately to
warn users of the need to wear appropriate protective clothing
when using the WaveRunner. In Count Three, the Complaint alleges
a claim called “General Maritime Negligence.” The dispositive

issue is whether there is admiralty jurisdiction.

DISCUSSION

I. Legal Framework

The modern test for whether a federal court has admiralty
jurisdiction under 28 U.S.C. § 1333(1) has developed through a
series of cases decided by the Supreme Court of the United States.

First, there was the traditional locality test. That test
dictated that “the jurisdiction of the admiralty is exclusively
dependent upon the locality of the act. The admiralty has
not . . . any jurisdiction over torts except such as are maritime
torts, that is, such as are committed on the high seas or on waters
within the ebb and flow of the tide.” Thomas v. Lane, 23 F. Cas.

957, 960 (C.C. Me. 1813) (No. 13,902) (Story, J.).
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Then, in Exec. Jet Aviation, Inc. v. City of Cleveland, 409
U.S. 249 (1972), the Supreme Court modified the traditional
locality test in holding that admiralty jurisdiction did not apply
to a case involving an airplane crashing into Lake Erie after
running into a flock of birds during takeoff. The Court held that
it was not enough that the accident had occurred “on or over
navigable water,” id. at 268, and that admiralty jurisdiction
requires “that the wrong bear a significant relationship to
traditional maritime activity.” Id.

In Foremost Ins. Co. v. Richardson, 457 U.S. 668 (1981), the

 

Supreme Court held that admiralty jurisdiction governed the
collision of two pleasure boats on a river, even though neither
boat had ever been used for commercial purposes, explaining that
the federal interest in protecting maritime commerce “can be fully
vindicated only if all operators of vessels on navigable waters
are subject to uniform rules of conduct.” Id. at 675. In E. River

S.S. Corp. v. Transamerica Delaval Inc., 476 U.S. 858 (1985), the

 

Supreme Court held that product liability causes of action,
including strict liability, could be brought in cases falling under
admiralty jurisdiction.

In Sisson v. Ruby, 497 U.S. 358 (1990), admiralty jurisdiction
was extended to a case involving a fire in the washer/dryer area
of a defendant’s pleasure yacht docked at a marina. The Supreme

Court held that an event of that general character posed a threat
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to maritime commerce, and thus that the case came within admiralty
jurisdiction. The Sisson Court explained that the analysis
"determine[s] the potential impact of a given type of incident by
examining its general character,” id. at 363, and that the issue
is not “the actual effects on maritime commerce . . . [nor] the
particular facts of the incident,” but rather “whether such an
incident is likely to disrupt commercial activity.” Id. This,
according to Sisson, was what justified the extension of admiralty
jurisdiction to the collision of pleasure boats in Foremost, even
though the specific location of the accident was not generally
used for commercial traffic. Id. That point was underscored later
in the opinion with the observation that, “[w]ere courts required
to focus more particularly on the causes of the harm, they would
have to decide to some extent the merits of the causation issue to
answer the legally and analytically antecedent jurisdictional
question.” Id. at 365.

Finally, in Jerome B. Grubart, Inc. v. Great Lakes Dredge &
Dock Co., 513 U.S. 527 (1994), the Supreme Court consolidated
several of its earlier admiralty cases into a two-part test. The
test first requires that a court establish location, which entails
determining “whether the tort occurred on navigable water or
whether injury suffered on land was caused by a vessel on navigable
water.” 513 U.S. at 534. Next, a court is required to establish

connection, which entails determining two subordinate issues:
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(a) assessing “the general features of the type of incident
involved to determine whether the incident has a potentially
disruptive impact on maritime commerce;” id. (internal citations
and quotations omitted); and (b) looking to the “general character”
of the event to assess whether it “shows a substantial relationship
to traditional maritime activity.” Id. (internal citations and
quotations omitted).

The Grubart test thus integrates the holding from Executive
Jet that events’ location in navigable waterways is a necessary
but not sufficient condition to admiralty jurisdiction. Grubart
makes clear, however, that the connection requirement is
permissive and does not depend on a party’s having been engaged in
commercial maritime activity. See 513 U.S. at 543 (“Although we
agree with petitioners that these cases do not say that every tort
involving a vessel on navigable waters falls within the scope of
admiralty jurisdiction no matter what, they do show that ordinarily

that will be so.”).

II. Application

Yamaha’s primary contention is that the events in question do
not satisfy either of the elements of the connection facet of the
Grubart test. But Yamaha’s arguments confuse these issues in

several ways.
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The location facet of the Grubart test is obviously satisfied
because the events occurred on the Rappahannock River, a navigable
waterway regularly used for commercial transportation. Yamaha
argues, however, that the specific location of the accident
undermines the second facet of the Grubart test because it was out
of the way of any commercial shipping. But in so arguing, Yamaha
ignores the plain instructions of the Supreme Court, which direct
courts to analyze cases in general terms and not on the basis of
what specifically happened. See, e.g., Sisson, 497 U.S. at 363
(“The jurisdictional inguiry does not turn on the actual effects
on maritime commerce of the fire on Sisson’s vessel; nor does it
turn on the particular facts of the incident in this case
Rather, a court must assess the general features of the type of
incident involved to determine whether such an incident is likely
to disrupt commercial activity.”).

As lower courts have understood even before Grubart, the
specific place on a body of water in which events occurred is not
relevant so long as it is a navigable body of water and the place

in question is in principle navigable. See, e.g., Price v. Price,

 

929 F.2d 131, 133-34 (4th Cir. 1991) (“Rules governing conduct on
navigable waters cannot remain uniform or have any certainty if
their applicability is dependent on whether, on any given day,
commercial maritime activity is being conducted on the waters.”);

see also Mission Bay Jet Sports, LLC v. Colombo, 570 F.3d 1124,

 
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1127 (9th Cir. 2009) (“Although commercial vessels and personal
watercraft are supposed to operate in different areas of Mission
Bay, it is a rule that keeps personal watercraft from venturing
beyond the cul-de-sac to the ocean, or vice-versa for other
vessels. The reserved area itself is .. . neither enclosed nor
obstructed; the rest of Mission Bay, as well as the Pacific Ocean,
are accessible for trade or travel.”). Remarkably, Yamaha cites
Mission Bay in support of its argument. But Mission Bay clearly
affirms the proposition that an event should be analyzed with a
view to the potential of that kind of event to disrupt maritime
commerce, and not the actual event’s disruption, or even the actual
event’s potential to cause disruption.?

The other cases that Yamaha cites in support of its position

do not undermine these points. For example, Foster v. Peddicord,

 

places substantial emphasis on the fact that “Southern failed to
make any factual allegations that the operator of the boat had
violated a navigational rule.” 826 F.2d 1370, 1375 (4th Cir.
1987). Because Foster predates several of the Supreme Court’s

most important cases in this area, Yamaha would have to explain

 

2 So, for example, in Sisson, analysis at the appropriate level of
generality did not require determining whether the specific
accident could have disrupted maritime commerce, or even whether
a similar accident at that marina could have disrupted maritime
commerce; rather, the Supreme Court framed the incident as: “the
storage and maintenance of a vessel at a marina on navigable
water.” Sisson v. Ruby, 497 U.S. at 365.

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why its holding should be treated as controlling to the extent
that it is contrary to the Supreme Court’s clear statements in
Sisson, 497 U.S. at 366-67 (“In Foremost we identified navigation
as an example, rather than as the sole instance of conduct that is
substantially related to traditional maritime activity . . . had
we intended to suggest that navigation is the only activity that
is sufficient to confer jurisdiction, we could have stated the
jurisdictional test much more clearly and economically ... .”).

Likewise, River Riders, Inc. v. Steptoe, 672 S.E.2d 376 (W.

 

Va. 2008), a state court case, concerns a whitewater rafting
accident. Steptoe emphasized that “there is no existing federal
or state precedent applying admiralty jurisdiction to the activity
of whitewater rafting.” 672 S.E.2d at 388. This case, by
contrast, concerns an accident on navigable waters involving a
Yamaha personal watercraft, and there is Supreme Court precedent
affirming admiralty jurisdiction for an accident on navigable
waters involving a Yamaha personal watercraft. Yamaha Motor Corp.,

U.S.A. v. Calhoun, 516 U.S. 199 (1996).

 

It follows that the fact that Varner’s accident happened near
the bank of the Rappahannock, and not in the commercial lanes in
the middle of the river, does not weigh against a finding that the
first of the two connection requirements is satisfied. See Mission
Bay, 570 F.3d at 1129 (“Although . . . this particular incident

did not actually disrupt commercial activity, the disruption prong

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does not turn on what happened in this particular case but on
whether the general features of the incident have a potentially
disruptive effect.”).

As to the second part of the connection requirement, Yamaha
places great emphasis on the fact that the activity in which Varner
was engaged was not a traditional maritime activity such as
navigation. For example, Yamaha’s initial brief goes on for
several pages about the reason for Varner’s falling off the
WaveRunner. According to Varner’s associates’ testimony, she
simply fell off and pulled off the person riding in front of her
as well. On Varner’s testimony, she fell off after the WaveRunner
accelerated aggressively and without warning. ECF No. 39 at 8-9.
Yamaha consolidates these points into its proposed general
characterization of the events: “wave jumping or horsing around,”
ECF No. 39 at 13, or “three girls drinking, horsing around,” id.
at 22. Elsewhere in its brief, Yamaha stresses that “[t]here are
no allegations . .. related to matters such as navigational error,
piloting, or shipping.” ECF No. 39 at 13.

But this is not a tort action against Varner’s associates.
Yamaha’s focus on the ways in which Varner’s injury may have been
partially caused by what she and the others were doing misses the
point. And Varner’s response brief similarly becomes mired in
arguing the motion on Yamaha’s terms (whether the three people

involved in the accident were “horsing around” or doing something

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else). That, however, is not relevant to whether Yamaha can be
sued in tort, in admiralty jurisdiction, for its allegedly faulty
design of the WaveRunner and alleged failure properly to warn
users. To the extent that such facts are of any relevance, they
go to the merits of the underlying case, not to the jurisdictional
question at issue here. Yamaha’s briefing casts no doubt on the
question of whether a personal watercraft is a vessel within the
meaning of 1 U.S.C. § 3 (“all means of water transportation”), nor
on the satisfaction of the location prong. Yamaha’s argument rests
entirely on the claim that the events did not meet the connection
requirement and fails properly to address how the connection
requirement applies to this case. Instead, Yamaha cites several
district court opinions denying admiralty jurisdiction on facts
that do not parallel a crucial aspect of this case: that it is a
products liability action brought against a commercial entity for
the design of a vessel, and not a tort action brought against
another person for some action committed on or near a body of
water.

Yamaha points to no case involving similar facts in which a
court found there to be no admiralty jurisdiction. In fact, Yamaha
cites only a single case that deals with admiralty jurisdiction

for products liability cases, Mullinex v. John Crane, Inc., 4:18-

 

cv-33, 2020 WL 2025538 (E.D. Va. April 27, 2020), and that case

affirmed admiralty jurisdiction. Yamaha instead focuses on

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arguing that the nature of the event--“wave jumping or horsing
around,” in Yamaha’s formulation--fails the second prong of the
Grubart test.

But that is not the right level of generality at which to
construe the events. An appropriate description fixes on the
activity as it pertains to the nature of the claim being brought.
In this case, an appropriate description might be “a passenger
injury caused by a vessel’s propulsion system after the passenger
fell from the vessel in navigable waters.” So construed, this
case clearly falls within federal admiralty jurisdiction. It is
immediately clear from framing at that intermediate level of
generality that: (1) the event is of a type that could disrupt
maritime commerce; (2) the event is related to traditional maritime
activities; and (3) as in Foremost, this case concerns rules--the
design of a vessel and its safety warnings--that implicate both
commercial and non-commercial maritime activities, and concerning
which there is a federal interest in consistency. See Jerome B.

Grubart, Inc. v. Great Lakes Dredge & Dock Co., 513 U.S. 527, 542-

 

43 (1995) (affirming a broad understanding of the second facet,
under which “ordinarily” any tort involving a vessel on navigable
waters falls within the scope of admiralty jurisdiction).
Accordingly, the requirements for federal admiralty jurisdiction

are satisfied in this case.

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CONCLUSION
For the reasons set forth above, DEFENDANT YAMAHA MOTOR
CORPORATION, U.S.A.’S MOTION FOR DETERMINATION REGARDING ADMIRALTY
JURISDICTION (ECF No. 38) will be denied.

It is so ORDERED.

/s/ REy

Robert E. Payne

 

Senior United States District Judge

Richmond, Virginia

Date: October #1, 2021

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